Case 6:18-cv-00248-JRG-JDL Document 24 Filed 10/02/18 Page 1 of 3 PageID #: 359



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 CHRIMAR SYSTEMS, INC.,
 d/b/a CMS TECHNOLOGIES and
 CHRIMAR HOLDING COMPANY, LLC,

                     Plaintiffs,                       Civil Action No. 6:18-cv-00248-JRG-JDL

        v.                                                    JURY TRIAL DEMANDED

 ANIXTER INC.,

                    Defendant.


             JOINT MOTION FOR EXTENSION OF TIME TO COMPLY WITH
                    PATENT LOCAL RULES 3-1, 3-2, 3-3, AND 3-4

        The Parties respectfully request that the Court extend the deadline for Plaintiff to comply

 with P.R. 3-1 and 3-2 by 5 days from October 3, 2018 to October 8, 2018. The Parties also

 respectfully request that the Court extend the deadline for Defendant to comply with P.R. 3-3 and

 3-4 by 10 days from November 20, 2018 to November 30, 2018. These requested extensions are

 not for delay, but to allow the Parties time to continue their ongoing discussions related to potential

 resolution of this action. No other deadlines are affected by the proposed extensions. The

 following chart shows the proposed changes:

  Deadline                                            Current Date             Proposed New Date

  Plaintiff to Comply with P.R. 3-1 and 3-2           October 3, 2018          October 8, 2018

  Defendant to Comply with P.R. 3-3 and 3-4           November 20, 2018        November 30, 2018
Case 6:18-cv-00248-JRG-JDL Document 24 Filed 10/02/18 Page 2 of 3 PageID #: 360



 Dated: October 2, 2018             Respectfully submitted,


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                                                                        Page 2
Case 6:18-cv-00248-JRG-JDL Document 24 Filed 10/02/18 Page 3 of 3 PageID #: 361



                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing document
 has been served on October 2, 2018, to all counsel of record who are deemed to have consented to
 electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                             /s/ Gary R. Sorden
                                             Gary R. Sorden




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